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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Shekiela Shenell Stringer,      )
                                )
     Plaintiff,                 ) Civil Action File No.:
                                )
v.                              )
                                )
Enhanced Recovery Company, LLC, )              COMPLAINT
                                )    WITH JURY TRIAL DEMAND
     Defendant.                 )
                                )

                         PRELIMINARY STATEMENT

       This action for damages is based on Defendant’s false reporting on

Plaintiff’s credit file and/or consumer reports and failures to follow reasonable

procedures to assure maximum possible accuracy of the information concerning

Plaintiff.

                                      PARTIES

       1.    Plaintiff, Shekiela Shenell Stringer, is a natural person who resides in

Cobb County, Georgia.

       2.    Plaintiff is allegedly obligated to pay a consumer debt and is, therefore,

a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).


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        3.   Defendant, Enhanced Recovery Company, LLC, is a limited liability

corporation formed under the laws of the State of Delaware, headquartered in the

State of Florida, and registered to do business in the State of Georgia. Defendant

may be served with process via its registered agent, C T Corporation System, at

289 South Culver Street, Lawrenceville, Georgia 30046-4805.

        4.   Defendant uses interstate commerce and/or mail in its business. The

principal purpose of Defendant’s business is the collection of consumer debts.

Defendant also regularly collects, or attempts to collect, directly or indirectly,

debts owed or due, or asserted to be owed or due, to a third party. Defendant is,

therefore, a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

                         JURISDICTION AND VENUE

        5.   This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims, pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). Additionally, this Court has

supplemental jurisdiction over Plaintiff’s state law claims, pursuant to 28 U.S.C. §

1367.

        6.   This Court has personal jurisdiction over Defendant because, inter

alia, Defendant frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.
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      7.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district. Pursuant to LR 3.1B(3), NDGa, venue is proper in

the Atlanta Division because Defendant maintains an agent for service of process

within the Atlanta Division.

           Factual Allegations Derived from Plaintiff’s Bankruptcy Case

      8.     On December 20, 2016, Plaintiff filed a Chapter 13 Voluntary

Bankruptcy Petition in the United States Bankruptcy Court for the Northern

District of Georgia, Atlanta Division, Case Number 16-72648-pmb (the

“Bankruptcy Case”).

      9.     In Schedule F of her Bankruptcy Petition, Plaintiff listed Defendant as

having an unsecured claim in the amount of $161.00 (the “Debt”).

      10. Defendant was served with notice of Plaintiff’s bankruptcy case and its

inclusion as a creditor by the Bankruptcy Noticing Center on December 24, 2016.

      11. A true and correct copy of the Notice served upon Defendant is

attached hereto as Exhibit 1. (Address matrix highlighted for ease of reference)

      12. On February 27, 2017, Plaintiff filed her Chapter 13 Plan in

accordance with 11 U.S.C. § 1322, setting forth her proposed treatment of the Debt

owed to Defendant, including detailed payment terms.
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      13. On March 16, 2017 the Bankruptcy Court issued an order confirming

Plaintiff’s Plan.

      14. Including the Notice of Commencement of case, referenced above,

Defendant has been served with at least three separate notices that the debt it is

seeking to collect against the Plaintiff is included in Plaintiff’s bankruptcy case.

      15. The Bankruptcy Case is currently pending, and Plaintiff continues to

substantially perform under the terms of her Confirmed Plan.

   Factual Allegations Pertinent to CDIA and Metro 2 Reporting Standards

      16. The reporting of consumer credit information by credit reporting

agencies (“CRAs”) and data furnishers is the foundation of credit risk scoring and

impacts the financial lives of consumers in innumerable ways, including the

availability and cost of credit, housing opportunities, leasing prospects, insurance

availability and cost, utility service, and even employment. Between two and three

million consumer reports are issued by credit bureaus each day. See,

http://www.cdiaonline.org/about.cfm.

      17.    The Consumer Data Industry Association (“CDIA”) is an international

trade association, representing over 140 members involved in credit reporting,

mortgage reporting, check verification, tenant and employment screening,

collection services, and fraud verification services, and the CDIA is active in both
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federal and state legislative affairs, public relations, education, and the

promulgation of industry standards.

      18.   Because consumer credit reporting information is such sensitive data

that has far reaching implications for most, if not all, consumers, the CDIA works

together with CRAs to develop, maintain and enhance industry-standard reporting

formats and guidelines.

      19.   To further assist CRAs and data furnishers with performing their due

diligence and reporting accurate, complete, and timely data, in satisfaction of the

FCRA’s legal requirements, the CDIA offers extensive training, education, and

support to CRAs and data furnishers.

      20.   The CDIA’s extensive training and support offerings include FCRA

certification programs for both CRAs and data furnishers, such as the Defendant,

to assist each in maintaining compliance with FCRA regulations.

      21.   Because standardized methods are of paramount importance to the

accurate, complete and timely reporting of consumer credit data, the CDIA can and

will revoke FCRA certification for failure to adhere to the standards set by the

CDIA.

      22.   In cooperation with the major CRAs, CDIA publishes the Metro 2

(“Metro 2”) reporting standards to assist furnishers with their compliance
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requirements under the FCRA. CDIA’s reporting products are used in more than

nine billion transactions each year.

See, http://www.cdiaonline.org/about/index.cfm?unItemNumber=515

      23.        The Metro 2 Format Task Force is comprised of representatives from

Equifax, Experian, Innovis, and TransUnion, and is supported by the CDIA. Metro

2 Format Task Force’s mission is to provide a standardized method for the

reporting of accurate, complete, and timely data, and has developed the Metro 2

standards. Id.

      24.     The Metro 2 standards provide uniformity in the reporting and

interpretation of credit data, including credit risk scoring.

      25.     At all times relevant hereto Defendant warranted and or represented to

TransUnion that it had adopted and implemented the Metro 2 format for its

reporting of consumer data and would otherwise comply with Metro 2 and CDIA

guidelines in its reporting of consumer information.

      26.     Defendant has, at all times relevant hereto, incorporated the Metro 2

format for reporting consumer information into its own internal policies and

procedures.

      27.     The Defendant has adopted the Metro 2 reporting format into its own

practices and procedures.
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     28.       Defendant has actual knowledge that entities that perform credit risk

scoring, and other functions utilizing the data reported by Defendant, assume

Defendant’s compliance with Metro 2 standards in reporting consumer

information.

      29.      The failure on the part of a CRA and/or a furnisher to adhere to the

accepted Metro 2 standards increases the probability of a reported item being false

or materially misleading to users of consumer reports, as those users assume that

the information in the consumer reports is being reported in compliance with

Metro 2 standards, and thus interpret that information accordingly.

      30.      As a result, failure to adhere accepted Metro 2 standards in reporting

information in consumer reports adversely affects consumers, as it causes

inconsistent, misleading, and/or incorrect interpretation of information regarding

consumers.

    Factual Allegations Derived from Defendant’s Reporting Of Plaintiff’s

                               Account to TransUnion

      31. On or about August 23, 2017, Plaintiff obtained a copy of her

consumer report as published by TransUnion.

      32.      That report contained erroneous information as provided by

Defendant and as published and reported by TransUnion.
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      33.    Specifically, the report shows the status of the Debt as “in

collections,” with a past due balance of $161.00. .

      34. The relevant portion of the Defendant tradeline appeared in the August

23, 2017, TransUnion report as follows:




      (Remaining portion of tradeline omitted.)

      35. Because the Debt is included in Plaintiff’s Bankruptcy Case as stated

above, the information described above was both false and misleading.

      36. The account should have been reported by the Defendant, per the

Metro 2 and its own internal policies and procedures, as “Petition for Chapter 13

Bankruptcy”, “In Bankruptcy” or some similar designation.

      37. The Defendant’s policies and procedures required it to report

Plaintiff’s account using Consumer Information Indicator “D”, under both the

Metro 2 guidelines and its own policies, which would result in the correct status

being reported.


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       38. The specific reporting described above was in derogation of accepted

industry standards for reporting the account as set forth by the CDIA and Metro 2

and as adopted by Defendant. See e.g., 2015 CDIA Credit Reporting Resource

Guide (“2015 Metro 2”).

       39. The information reported by Defendant to TransUnion was both false

and misleading in that a viewer of the report would reasonably conclude that the

Debt being collected by Defendant was not included in Plaintiff’s Bankruptcy Case

and that Plaintiff is subject to continued collection activity,      including legal

process.

       40. The false report made by Defendant to TransUnion was in furtherance

of its efforts to collect its Debt from Plaintiff.

                                        Damages

       41. Defendant had actual notice that the information it was reporting

regarding Plaintiff to the various credit reporting agencies was false, deceptive, and

misleading.

       42. Accordingly, Defendant’s conduct was willful.

       43. As a result of Defendant’s willful actions and omissions, Plaintiff is

eligible for statutory damages.


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      44. Additionally, as a result of Defendant’s actions and omissions, Plaintiff

has suffered actual damages, including out-of-pocket expenses in challenging

Defendant’s wrongful representations, frustration and anxiety as a result of the

knowledge that Defendant is pursuing its collection strategy despite her

Bankruptcy Case, and worry over the repercussions of Defendant’s conduct.

      45. As a result of the actions and omissions of Defendant, Plaintiff’s actual

damages also include the illegitimate suppression of her Fair Isaac Corporation

(“FICO”) credit score and other credit rating model scores.

      46. The false information reported by Defendant creates a material risk of

financial harm to Plaintiff stemming from the decreased perception of Plaintiff’s

future credit-worthiness.

                             CAUSES OF ACTION

                                    COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
            15 U.S.C. §§ 1692e, 1692e(2), and 1692e(10)

      47. Plaintiff incorporates by reference all preceding paragraphs as though

fully stated herein.

      48. Defendant’s provision of false and/or misleading information in

connection with its attempts to collect the alleged Debt violated multiple

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provisions of the FDCPA, including without limitation 15 U.S.C. §§ 1692e,

1692e(2), and 1692e(10).

         49. As a result of Defendant’s violations of the FDCPA, Plaintiff has

suffered actual damages. Plaintiff is, therefore, entitled to recover actual damages

under 15 U.S.C. § 1692k.

         50. Under 15 U.S.C. § 1692k, Plaintiff is also entitled to recover from

Defendant $1,000.00 in statutory damages and reasonable attorney’s fees and

costs.

                                      COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                    O.C.G.A. § 10-1-393(a)

         51. Plaintiff incorporates by reference all preceding paragraphs as though

fully stated herein.

         52. O.C.G.A. § 10-1-393(a) broadly prohibits unfair business practices.

         53. It was unfair and deceptive for Defendant to falsely report the status of

Plaintiff’s account to third-parties in an effort to collect a debt that was scheduled

in bankruptcy.

         54. As pled above, Plaintiff was harmed by Defendant’s unfair conduct.



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      55. Upon information and belief, Defendant regularly reports information

to credit reporting agencies in an effort to collect outstanding debts.

      56. Upon information and belief, reports to credit reporting agencies are

Defendant’s modus operandi for debt collection and are done on a wide scale.

      57. Defendant’s conduct amounts to an unfair business practice.

      58. Defendant’s conduct has implications for the consuming public in

general and potential negative impact on the consumer marketplace.

      59. Defendant does not maintain a place of business in Georgia and has no

assets in Georgia, thus relieving Plaintiff of the Notice and Demand requirement of

O.C.G.A. § 10-1-399(b).

      60. As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages, pursuant to O.C.G.A. § 10-1-

399(a).

      61. As a result of Defendant’s willful and wanton violations of O.C.G.A. §

10-1-393(a), Plaintiff is entitled to recover exemplary damages, pursuant to

O.C.G.A. § 10-1-399(a).

      62. Defendant’s actions were intentional, rendering it liable for treble

damages, pursuant to O.C.G.A. § 10-1-399(c).


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        63. Plaintiff is entitled to recover reasonable attorney’s fees and expenses,

pursuant to O.C.G.A. § 10-1-399(d).

                                  TRIAL BY JURY

        64. Plaintiff is entitled to and hereby requests a trial by jury.

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

         a.) Plaintiff’s actual damages;

         b.) Statutory damages pursuant to 15 U.S.C. § 1692k;

         c.) General, exemplary, and treble damages pursuant to O.C.G.A. §§ 10-1-

            399(a) & (c);

         d.) Reasonable attorney’s fees and costs pursuant to 15 U.S.C. §§ 1692k

            and O.C.G.A. §§ 10-1-399(d) and/or 13-6-11; and

         e.) Such other and further relief as may be just and proper.


Respectfully submitted this 27th day of November, 2017.




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